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 7

 8                            UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
10

11   EMPYREAL ENTERPRISES, LLC,                  Case No. 5:22-cv-00094-JWH-SHK
     d/b/a EMPYREAL LOGISTICS
12                                               DECLARATION OF SERGEANT ALEX
                        Plaintiff,               NAOUM IN OPPOSITION TO
13                                               PLAINTIFF’S EX PARTE APPLICATION
                            v.                   FOR TEMPORARY RESTRAINING
14                                               ORDER
     The United States of America; the U.S.
15   Department of Justice; Attorney
16   General MERRICK GARLAND, in his
                                                 Honorable District Court Judge
     official capacity; the Federal Bureau of    John W. Holcomb
17   Investigation; CHRISTOPHER A.
     WRAY, Director of the Federal Bureau        Honorable Magistrate Judge
18                                               Shashi H. Kewalramani
     of Investigation, in his official
19   capacity; KRISTI KOONS JOHNSON,
20   Assistant Director of the Federal
     Bureau of Investigation overseeing the
21   FBI’s Los Angeles Field Office, in her
22   official capacity; the Drug Enforcement
     Administration; ANNE MILGRAM,
23   Administrator of the Drug Enforcement
24   Administration, in her official capacity;
     SHANNON D. DICUS, San
25   Bernardino County Sheriff-Coroner, in
26   ///
27   ///
28                                         1
           DECLARATION OF SGT. ALEX NAOUM IN OPPOSITION TO PLAINTIFF’S EX PARTE
                     APPLICATION FOR TEMPORARY RESTRAINING ORDER
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 1   his official capacity as the head of the
 2   San Bernardino County Sheriff’s
     Office.
 3
                         Defendants.
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 6   I, Alex Naoum, declare:
 7          1.        I am employed as a sworn peace officer by San Bernardino County to serve
 8   as a Sergeant in the Sheriff’s Department. I make this Declaration of my own free will
 9   and if called to testify to the facts stated herein, I could and would competently do so as
10   they are within my own personal knowledge.
11          2.        I have been employed by San Bernardino County since July 1996. I have
12   training, experience, and professional expertise pertaining to the investigation of suspected
13   crimes, drafting affidavits and statements of probable cause in support of warrants to
14   search and seize evidence, collection and preservation of evidence, and interviewing
15   suspects and witnesses. I also have training, experience, and professional expertise
16   regarding identification of narcotics, illicit sales, and trafficking of the illicit proceeds of
17   illegal sales.
18          3.        I currently serve as a supervisor in the San Bernardino County Sheriff’s
19   Department Gangs/Narcotics Division.          In this role, I oversee numerous deputies,
20   detectives, and investigators, including those involved in three traffic stops discussed in
21   more detail below.
22          4.        On November 16, 2021, a member of the San Bernardino County Sheriff’s
23   Highway Interdiction Team, who I supervise, observed a Ford van that was traveling
24   approximately six feet behind a semi-truck with attached trailer while both vehicles were
25   traveling 55 to 60 miles per hour, in violation of California Vehicle Code section 21703
26   (following too close). A traffic stop was conducted for that violation. During the stop,
27   the deputy made further observations, including hearing inconsistent statements made by
28                                       2
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 1   the driver and company representatives, that led the deputy to believe the contents of the
 2   van were illicit proceeds of unlawful drug sales. These observations are recorded in a
 3   report created and kept in the ordinary course of business. I reviewed this report and am
 4   familiar with its contents.
 5         5.     On November 16, 2021, due to information collected during his investigation,
 6   Deputy J. Franco authored a search warrant for the Ford van, “to include all locked safes
 7   and compartments within the vehicle” to locate any currency and/or evidence of the illegal
 8   transportation of narcotics/marijuana proceeds, electronics used in the commission of the
 9   illegal transportation of such proceeds, and any narcotics and/or marijuana located in the
10   vehicle. Deputy Franco submitted the warrant along with a statement of probable cause
11   and a statement of expertise of affiant to the Superior Court of California, County of San
12   Bernardino for consideration by a bench officer. Judge David Cohn reviewed the items
13   submitted and issued the warrant electronically on November 16, 2021, at 5:26 p.m. A
14   redacted but otherwise true and correct copy of the warrant is attached to this Declaration
15   as Exhibit “A.”
16         6.     A search of the van was conducted on November 16, 2021, pursuant to the
17   warrant. Currency bags labeled with contents in the amount of $688,206.36 were seized
18   pursuant to the warrant. Upon further processing, the contents of those currency bags were
19   found to be currency in the amount of $712,176.36. The significant difference between
20   the labels and the contents of the bags seized has not been explained.
21         7.     On December 9, 2021, a member of the San Bernardino County Sheriff’s
22   Highway Interdiction Team, who I supervise, observed a Ford van that was traveling too
23   fast for conditions, made several multi-lane changes without signaling, and then exited the
24   interstate without signaling, all in violation of several sections of the California Vehicle
25   Code. A traffic stop was conducted for these violations. During the stop, the deputy made
26   further observations, including hearing inconsistent statements made by the driver, that
27   indicated the contents of the van were illicit proceeds of unlawful drug sales. These
28                                       3
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 1   observations are recorded in a report created and kept in the ordinary course of business.
 2   I reviewed this report and am familiar with its contents.
 3         8.     On December 9, 2021, due to information collected during the investigation,
 4   narcotic detection K9 Eros was deployed to conduct an air sniff on the exterior of the van.
 5   K9 Eros and his handler have trained together extensively so that the handler recognizes
 6   Eros’ alerts. An untrained observer who has not worked with K9 Eros would not recognize
 7   an alert. K9 Eros alerted near the open driver’s door to the odor of narcotics. A further
 8   search revealed 19 currency bags. K9 Eros alerted to the odor of narcotics on these
 9   currency bags as well. Currency bags labeled with contents in the amount of $351,365.89
10   was seized pursuant to the probable cause search. Upon further processing, the contents
11   of those currency bags were found in the amount of $351,353.88. The difference between
12   the labels and the contents of the bags seized has not been explained.
13         9.     On January 6, 2022, a member of the San Bernardino County Sheriff’s
14   Highway Interdiction Team, who I supervise, observed a Ford van that was following too
15   close to a pickup truck, in violation of the California Vehicle Code. A traffic stop was
16   conducted for that violation. No observations during the contact indicated the contents of
17   the van were illicit proceeds of unlawful drug sales. The driver was issued a warning. I
18   have reviewed reports and evidence from that stop. These items are kept in the ordinary
19   course of business.
20         10.    Consistent with Department policy, the deputy activated his audio recorder
21   as he approached the van and kept it on during the entire encounter. The audio recording
22   is kept in the ordinary course of business. I reviewed the audio recording and am familiar
23   with its contents. At no time did the deputy state he stopped the van for “political” reasons.
24   The only mention of anything “political” was a comment by the driver who explained he
25   left employment in New York in 2017 and relocated to Las Vegas because it was getting
26   “too political at the end.” (Recording at 5:48.) The 22 minute 39 second recording ends
27   with the deputy returning to his vehicle after issuing the warning to the driver.
28                                       4
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 1          11.    As of January 25, 2022, the San Bernardino County Sheriff’s Department has
 2   several active investigations into the illegal cultivation, illegal transport of narcotics, illicit
 3   sales, and trafficking of the illicit proceeds of illegal sales of narcotics. The seizure of
 4   currency mentioned above may be evidence in those investigations.
 5

 6          I declare under penalty of perjury under the laws of the State of California and those
 7   of the United States of America that the foregoing is true and correct and that this
 8   Declaration was executed the 25th day of January 2022 in San Bernardino, California.
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10                                             /s/ Alex Naoum
                                               SERGEANT ALEX NAOUM,
11                                             DECLARANT
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         DECLARATION OF SGT. ALEX NAOUM IN OPPOSITION TO PLAINTIFF’S EX PARTE
                   APPLICATION FOR TEMPORARY RESTRAINING ORDER
